
In re State of Louisiana;- — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. A, No. 491-849; to the Court of Appeal, Fourth Circuit, No. 2010-K-0704.
Writ granted. Based on the objective information available to the officers at the time of the defendant’s arrest, it was reasonably probable under the totality of the circumstances that a crime had been or was in the process of being committed and that the defendant was directly or indirectly involved in the commission of that crime. Accordingly, the ruling of the district court granting in part the defendant’s motion to suppress the oral and written statements made post-arrest is reversed, and the case is remanded to the district court for further proceedings.
